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       In The United States Court of Federal Claims
                                          No. 04-1335 C

                                    (Filed: September 26, 2008)
                                            __________
 JOSEPH BARNES,
 KAYLENE HOLUB,
 SOCORRO YOSUICO,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                            _________

                                            ORDER
                                           __________

        A telephonic status conference will be held in this case on Wednesday, October 8, 2008,
at 2:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.



                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
